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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 POLARIS POWERLED TECHNOLOGIES,
 LLC,

                Plaintiff,

 v.
                                                      Civil Action No. 2:17-cv-00715-JRG
 SAMSUNG ELECTRONICS AMERICA,
 INC., SAMSUNG ELECTRONICS CO.,
 LTD., and SAMSUNG DISPLAY CO., LTD.,

                Defendants.



                           SAMSUNG’S NOTICE OF FILING
                       OF PETITION FOR INTER PARTES REVIEW

       Defendants Samsung Electronics America, Inc., Samsung Display Co. Ltd., and Samsung

Electronics Co., Ltd. (collectively, “Samsung”) respectfully submit this notice to alert the Court

that Samsung, on June 15, 2018, filed a petition for Inter Partes Review of the patent asserted in

this action, challenging every claim asserted against Samsung by Plaintiff in its P.R. 3-1 & 3-2

Disclosure.



 Dated: June 18, 2018                            Respectfully submitted,


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                                                    Counsel for Defendants




                                CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served with a copy of this document via email on this 18th day of June, 2018.


                                                      /s/ Melissa R. Smith
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